PEARSON, J.

                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

RYAN D. MALONE,                                 )     CASE NO. 1:17CV2290
                                                )               [1:14CR438]
              Petitioner,                       )
                                                )     JUDGE BENITA Y. PEARSON
              v.                                )
                                                )     MEMORANDUM OF OPINION AND
UNITED STATES OF AMERICA,                       )     ORDER
                                                )     [Resolving ECF Nos. 138, 140, 146 and
              Respondent.                       )     152]



       Pending before the Court is Petitioner’s Motion to Vacate under 28 U.S.C. § 2255. ECF

No. 138. The Government has responded. ECF No. 141. Petitioner filed a reply in support of

his Petition. ECF No. 148. Petitioner also filed two separate supplemental pleadings to his

Section 2255 motion. The first pleading was timely filed. ECF No. 140. Petitioner then twice

moved the Court for leave to amend or supplement his motion. ECF Nos. 146 and 152.

Petitioner’s second pleading was both untimely and erroneously captioned as an “amended

petition.” ECF No. 153.


       The Court has reviewed the parties’ briefs, responses, and governing law. The Court

grants Petitioner’s first and third motions to supplement his Section 2255 motion. ECF Nos. 140
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and 152. The second motion is moot.1 ECF No. 146. The Court denies Petitioner’s Section

2255 Motion to Vacate. ECF No. 138.


                                         I. Background


       On December 9, 2014, Petitioner was indicted and charged with being a Felon in

Possession of a Firearm or Ammunition, in violation of 18 U.S.C. § 922(g)(1). ECF No. 141 at

PageID #: 999. Petitioner pled guilty without a plea agreement. Id. On July 2, 2015, the Court

sentenced Petitioner to 120 months of imprisonment. ECF No. 138 at PageID #: 954. In

deciding the sentence, the Court found that Malone’s total offense level was 27 and that his

criminal history category was VI. ECF No. 141 at PageID #: 999. The corresponding guidelines

range was 120 months, with the statute capping the otherwise-applicable range of 130 to 162

months. Id.


       A. First Appeal from Sentencing


       On appeal, Petitioner challenged his sentence calculation. United States v. Malone, No.

15-3765, 2016 WL 1696871, at *3 (6th Cir. Apr. 27, 2016). First, Petitioner argued that, under


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          Following Petitioner’s second motion to amend or supplement his Section 2255
motion, the Court twice ordered Petitioner to clarify the amendment Petitioner sought to
add. Petitioner did not provide this clarification until nearly one month after filing his
third motion to supplement his Section 2255 motion. Because the Court grants
Petitioner’s third motion to supplement, the second motion is duplicative and therefore
moot.

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the Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2551 (2015), his prior

conviction for aggravated burglary was not a “crime of violence” under U.S.S.G. § 2K2.1(a)(2).

In light of Johnson, the Government conceded that the aggravated burglary conviction did not

qualify, and the Sixth Circuit agreed. ECF No. 141 at PageID #: 999. Second, Petitioner

claimed that the court improperly increased his offense level for using or possessing the firearm

in connection with another felony offense under U.S.S.G. § 2K2.1(b)(6)(B). Malone, 2016 WL

1696871, at *3. The Sixth Circuit held that Malone had waived the issue by withdrawing his

objection to the enhancement before sentencing. Id. Accordingly, the Sixth Circuit “vacate[d]

the judgment and remanded for reconsideration in light of Johnson.” Id.


       B. Remand to District Court for Resentencing


       On remand, the Court resentenced Petitioner. ECF No. 141 at PageID #: 1000. The

Court adopted the Pre-Sentence Report’s application of a base offense level of 20 under U.S.S.G.

§ 2K2.1(a)(4)(A) based on Petitioner’s conviction of a controlled substance offense prior to the

instant offense. Id. During the resentencing, Petitioner’s counsel explained that Petitioner

wished to object to treating his drug trafficking conviction as a controlled substance offense,

despite counsel’s “belie[f] that argument does not have merit.” Id. The Court applied a four-

level enhancement for possessing the firearm in connection with another felony offense under

U.S.S.G. § 2K2.1(b)(6)(B) and a two-level enhancement for the gun being stolen under U.S.S.G.

§ 2K2.1(b)(4). Id. These measures resulted in an adjusted offense level of 26, before reducing

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by three levels for acceptance of responsibility to an offense level of 23. Id. The Court also

found that Petitioner’s two prior convictions   one in state court for trafficking, and one in

federal court for a prior Section 922(g) violation   should count separately. Id. at PageID #:

1001. These measures yielded a finding of Criminal History Category VI. Id.


       Petitioner’s resulting Guidelines range for a total offense level of 23 and Criminal History

Category VI was 92 to 115 months. Id. Exercising its authority under 18 U.S.C. § 3553(a), the

Court varied upwards, imposing a 120 month sentence. Id.


       C. Petitioner’s Appeal from Resentencing


       On appeal, Petitioner’s attorney challenged (1) the Court’s application of the four-level

enhancement under U.S.S.G. § 2K2.1(b)(6)(B) and (2) the substantive reasonableness of

Petitioner’s sentence. ECF No. 138 at PageID #: 968. The Sixth Circuit affirmed the Court’s

findings. Id. at PageID #: 969.


       During the pendency of the appeal, Petitioner requested counsel to raise two additional

arguments: (1) that Petitioner’s prior conviction under R.C. § 2925.03(A)(2) was not a

“controlled substance offense,” and (2) that his Criminal History Category was unduly enhanced

under U.S.S.G. § 4A1.1(d). Id. at PageID #: 968-69. Petitioner’s counsel did not raise either

argument. Id. at PageID #: 969.




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       D. Petitioner’s Motion to Vacate and Attempts to Supplement


       On October 30, 2017, Petitioner filed his Motion to Vacate under 28 U.S.C. § 2255. ECF

No. 138. Petitioner moved to supplement his Section 2255 motion on January 29, 2018. ECF

No. 140 at PageID # 979. The motion to supplement included his supplemental pleading. Id.

The Government responded to Petitioner’s Section 2255 motion. ECF No. 141. Petitioner filed

a reply in support. ECF No. 148.


       Prior to replying, Petitioner sought leave to amend under Fed. R. Civ. P. 15(c)(1)(A) or,

in the alternative, to supplement his motion under Rule 15(d). ECF No. 146. The Court ordered

Petitioner to clarify the amendment Petitioner sought to add to his motion within 14 days. ECF

No. 147. In response, Petitioner filed a Notice of Clarification in which he stated his intent to

supplement his motion under Rule 15(d). ECF No. 149. The Court again ordered Petitioner to

clarify the content of his amendment within 14 days. ECF No. 150. Petitioner, without

clarifying the content of his amendment, again stated his intent to supplement his motion under

Rule 15(d). ECF No. 151.


       Over two months after the Court’s order had been issued, Petitioner filed a Motion for

Leave to Amend the Pleadings By Supplementing the Claims Already Raised, and thereby

requesting an extension of time to submit an amended pleading through July 22, 2018. ECF No.

152. Petitioner filed his Amended Pleading on August 8, 2018. ECF No. 153.


                                     II. Standard of Review

       Section 2255 of Title 28, United States Code, provides:


       A prisoner in custody under sentence of a court established by Act of Congress
       claiming the right to be released upon the ground that the sentence was imposed in
       violation of the Constitution or laws of the United States, or that the court was


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       without jurisdiction to impose such sentence, or that the sentence was in excess of
       the maximum authorized by law, or is otherwise subject to collateral attack, may
       move the court which imposed the sentence to vacate, set aside or correct the
       sentence.


       In order to prevail upon a Section 2255 motion, the movant must allege as a basis for

relief: “(1) an error of constitutional magnitude; (2) a sentence imposed outside the statutory

limits; or (3) an error of fact or law that was so fundamental as to render the entire proceeding

invalid.” Mallett v. United States, 334 F.3d 491, 496 97 (6th Cir. 2003) (quoting Weinberger v.

United States, 268 F.3d 346, 351 (6th Cir. 2001)).


                                          III. Discussion


       Petitioner alleges ineffective assistance of counsel because his attorney failed to make

several arguments on appeal. ECF Nos. 138 & 153. Petitioner also claims that, in determining

the propriety of a sentencing enhancement under U.S.S.G. § 2k2.1(b)(6)(B), the Court may not

consider “acquitted, dismissed, or uncharged facts” without violating his due process rights.

ECF No. 140. Finally, Petitioner argues that the Court does not have the power to adjudicate

criminal matters under Article III of the Constitution. ECF No. 153.


       A. Petitioner’s Supplemental Pleadings


       Federal Rule of Civil Procedure 15 governs amendments and supplemental pleadings to

habeas petitions in a Section 2255 proceeding. See, e.g., United States v. Ciampi, 419 F.3d 20,

23 (1st Cir. 2005); United States v. Duffus, 174 F.3d 333, 336 (3d Cir.1999). Leave to amend or

supplement a pleading should be freely granted in the absence of reasons such as undue delay,

bad faith, or dilatory motive on the part of the movant. Foman v. Davis, 371 U.S. 178, 182. The




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granting or refusing of leave to file an amended or supplemental pleading ultimately rests in the

discretion of the district court. Schuckman v. Rubenstein, 164 F.2d 952, 958 (6th Cir. 1947).


       Petitioner’s first motion to supplement his Section 2255 motion was filed over two weeks

before the Government’s response to Petitioner’s Section 2255 motion. ECF No. 140. Granting

Petitioner’s first motion to supplement his Section 2255 motion will not prejudice the

Government. Accordingly, the Court grants Petitioner’s first motion to supplement his Section

2255 motion.


       Petitioner’s August 8, 2018 supplemental pleading2 was filed over three months after the

Court ordered Petitioner to clarify the content of the amendment Petitioner sought to add to his

petition. ECF Nos. 150 & 153. Nevertheless, the Court will, in its discretion, grant Petitioner’s

third motion to supplement his Section 2255 motion and analyze the merits of Petitioner’s

arguments. ECF No. 152.


       B. Ineffective Assistance of Counsel


       Ineffective assistance of counsel may be a proper basis for relief under 28 U.S.C. § 2255,

provided that the petitioner can demonstrate counsel’s ineffectiveness by a preponderance of the


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          An amended pleading entirely replaces the earlier pleading with a new pleading
containing matters that occurred prior to the filing of the original complaint, while a
supplemental pleading stands with the original and adds to it facts happening after the
filing of the pleading to which it is a supplement. See Francis ex rel. Estate of Francis v.
Northumberland County, 636 F. Supp. 2d 368, 383 (M.D. Pa. 2009); Habitat Educ.
Center, Inc. v. Kimbell, 250 F.R.D. 397, 401-02 (E.D. Wis. 2008). Although Petitioner’s
August 8, 2018 submission is entitled “Amended Pleadings to 28 U.S.C. § 2255
Collateral Attack on a Conviction,” he requests the Court “take notice that the previously
filed claims and issues are still reserved for consideration, and that these amended claims
are to be considered as in addition to those already on file.” ECF No. 153 at PageID #:
1067. The Court will treat Petitioner’s submission as a supplemental pleading under Rule
15(d).

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evidence. Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006); McQueen v. United States,

58 F. App’x. 73, 76 (6th Cir. 2003). To establish ineffective assistance of counsel, a petitioner

must first demonstrate that counsel’s performance was deficient. Strickland v. Washington, 466

U.S. 668, 687 (1984). “This requires showing that counsel made errors so serious that counsel

was not functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Id.

Next, the petitioner must show that counsel’s deficient performance prejudiced the defense. Id.

“This requires showing that counsel’s errors were so serious as to deprive [the petitioner] of a

fair trial, a trial whose result is reliable. Unless a [petitioner] makes both showings, it cannot be

said that the conviction or death sentence resulted from a breakdown in the adversary process

that renders the result unreliable.” Id.


        Petitioner contends that he received ineffective assistance of counsel when Petitioner’s

counsel, upon Petitioner’s request, declined to raise two arguments: (1) that Petitioner’s prior

conviction under R.C. § 2925.03(A)(2) was not a “controlled substance offense,” and (2) that his

Criminal History Category was unduly enhanced under U.S.S.G. § 4A1.1(d). ECF No. 138 at

PageID #: 968-69. Because Petitioner can neither show deficiency nor actual prejudice,

Petitioner’s claim fails the Strickland test.


                1. Deficiency


        Counsel’s performance is deficient when the representation falls below an “objective

standard of reasonableness.” Strickland. 466 U.S. at 688. While trial counsel’s tactical decisions

are not completely immune from Sixth Amendment review, they must be particularly egregious

before they will provide a basis for relief. Martin v. Rose, 744 F.2d 1245, 1250 (6th Cir. 1984).

A petitioner must overcome the strong presumption that counsel’s conduct fell “within the wide



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range of reasonable professional assistance,” and that “the challenged action ‘might be

considered sound trial strategy.’” Id. at 689 (quoting Michel v. Louisiana, 350 U.S. 91, 101

(1955)).


       Petitioner’s assertion that he requested his counsel to present two arguments on appeal,

both of which his counsel chose not to bring, is insufficient to rebut the presumption of

reasonable professional assistance. Both arguments are without merit. The decision to refrain

from bringing a meritless claim on appeal is objectively reasonable and cannot support a finding

of deficiency. E.g., Hawkins v. Hannigan, 185 F.3d 1146, 1157-58 (10th Cir. 1999) (appellant’s

counsel was not ineffective for failing to raise meritless claim).


                        a. R.C. § 2925.03(A)(2)’s Applicability as a Controlled Substance
                        Offense Under U.S.S.G. § 4B1.2(b)


       To determine whether a given law is a controlled substance offense within the meaning of

U.S.S.G. § 4B1.2(b), the Sixth Circuit applies the two-step “categorical approach.” United States

v. Pittman, No. 17-1891, 2018 WL 2446697, at *2 (6th Cir. May 31, 2018); see Mathis v. United

States, 136 S. Ct. 2243, 2248-49 (2016). First, the Court determines whether the statute is

divisible   that is, if it lists elements in the alternative such that the statue comprises multiple,

alternative versions of the crime. Pittman, 2018 WL 2446697, at *2 (citations omitted). If so,

the Court employs the “modified categorical approach” and consults “a limited class of

documents” to determine which alternative formed the basis of the defendant’s prior conviction.

Id. These documents include, but are not limited to, the indictment, jury instructions, or plea

agreement and colloquy. Shepard v. United States, 544 U.S. 13, 16 (2005). At the second step,

the Court determines whether the offense, as described by either the entirety of an indivisible

statute or by the relevant alternative of a divisible statute, matches U.S.S.G. § 4B1.2(b)’s


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definition of a “controlled substance offense.” Pittman, 2018 WL 2446697, at *2. If so, the law

is a controlled substance offense within the meaning of § 4B1.2(b).


       Petitioner contends the application of U.S.S.G. § 2K2.1(a)(4)(A) was improper because

his prior criminal conviction in state court does not constitute a “controlled substance offense”

under the sentencing guidelines. ECF No. 138 at PageID #: 970. In support of his claim,

Petitioner argues that R.C. § 2925.03(A)(2) is indivisible. Id. at PageID #: 971. R.C. §

2925.03(A)(2) includes “controlled substance analogs” and U.S.S.G. § 4B1.2(b) does not. Id.

Petitioner asserts that the state statute therefore “punishes a larger swath of conduct” and is not a

controlled substance offense under the sentencing guidelines. Id. at PageID #: 972-73.


       Contrary to Petitioner’s assertion, R.C. § 2925.03(A)(2) is divisible as to the particular

substance. As the Government correctly points out, “[a]lthough subsection section (A)(2) refers

to controlled substances generally, subsection (C) provides a lengthy sentencing structure that

determines the severity of the Ohio drug trafficking offense based primarily on the type of

controlled substance, the amount of controlled substance, and any aggravating location.” ECF

No. 141 at PageID #: 1007-08. Because R.C. § 2925.03 sets forth more than one criminal

offense with the identity of each being determined by the type of controlled substance involved,

the statute is divisible as to the particular substance. See United States v. Wahid, No. 1:18-424,

2018 WL 2717287, at *10 (N.D. Ohio June 6, 2018) (Gwin, J.) (holding that R.C. § 2925.04 is

divisible because it defines multiple crimes).


       Applying the modified categorical approach as set forth in the charging instrument,

Petitioner’s prior conviction under R.C. § 2925.03 was for trafficking marijuana. ECF No. 141

at PageID #: 1008; see also ECF No. 122 at PageID # 866. Trafficking marijuana, a federally



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controlled substance, falls under the ambit of U.S.S.G. § 4B1.2(b) as a predicate offense for a

sentence enhancement. See ECF No. 141 at PageID # 1008.


       Even if R.C. § 2925.03 were indivisible, the entirety of the statute matches U.S.S.G. §

4B1.2(b)’s definition of a controlled substance offense. The Sixth Circuit has consistently held

that a violation of R.C. § 2925.03 categorically qualifies as a controlled substance offense under

federal sentencing guidelines. See, e.g., United States v. Allen, 711 F. App’x. 781 (6th Cir. 2017)

(“[A] conviction under Ohio Revised Code § 2925.03(A)(1) categorically qualifies as a

controlled substance offense under U.S.S.G. § 4B1.2(b).”); United States v. Robinson, 333 F.

App'x 33, 35-36 (6th Cir. 2009) (“Because § 2925.03(A)(2) includes an element of ‘manufacture,

import, export, distribution, or dispensing,’ or intent to do those things, that subsection of the

Ohio statute falls within the ambit of U.S.S.G. § 4B1.2(b).”).


       The fact that state law criminalizes a substance that is not criminalized under federal law,

when federal sentencing guidelines specifically include offenses under state law, does not prevent

conduct prohibited under the state statute from categorically qualifying as a predicate offense.

United States v. Smith, 681 F. App’x. 483 (6th Cir. 2017). In Smith, the defendant was convicted

of violating 21 U.S.C. §§ 841(a)(1) and 846. Id. at 485. The district court determined that

Smith’s prior convictions in Illinois state court under 720 Ill. Comp. Stat. § 570/401 were

predicate controlled-substance offenses that justified enhancement of his sentence under the

Guidelines’ career-offender provision, U.S.S.G. § 4B1.1. Id. at 485-86. On appeal, Smith

asserted that the state law referenced “controlled substance analogs,” which were not explicitly

prohibited under federal law. Id. at 489. By that reasoning, Smith’s prior state court convictions




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could not serve as predicate controlled-substance offenses. Id. The Sixth Circuit rejected this

argument:


       Because there is no requirement that the particular controlled substance
       underlying a state conviction also be controlled by the federal government, and
       because the Guidelines specifically include offenses under state law in § 4B1.2,
       the fact that Illinois may have criminalized the "manufacture, import, export,
       distribution, or dispensing" of some substances that are not criminalized under
       federal law does not prevent conduct prohibited under the Illinois statute from
       qualifying, categorically, as a predicate offense. Smith's prior convictions under
       720 Ill. Comp. Stat. § 570/401(d) thus are predicate offenses.


Id.


       Whether the Court looks to Petitioner’s specific offense as set forth under the charging

instrument or R.C. § 2925.03(A)(2) in its entirety, the offense matches U.S.S.G. § 4B1.2(b)’s

definition of a “controlled substance offense” under the Pittman two-step “categorical approach.”

Petitioner’s counsel, therefore, acted reasonably by choosing not to bring this claim on appeal.


                      b. Termination of Petitioner’s Post-Release Control


       Under U.S.S.G. § 4A1.1(d), a defendant shall receive a two-point enhancement if the

crime was committed while “under any criminal justice sentence, including probation, parole,

supervised release, imprisonment, work release, or escape status.” At the time of Petitioner’s

federal offense, Petitioner was under supervision by parole. ECF No. 141 at PageID #: 1009.

Petitioner contends that, because his post-release control was “voided,” he did not commit the

crime while under a criminal justice sentence. ECF No. 138 at PageID #: 974-75.




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       The record, however, shows that Petitioner’s post-release control was terminated, not

voided. After committing the offense, Petitioner successfully moved the Cuyahoga County Court

of Common Pleas to terminate post-release control for his state court conviction. Ohio v.

Malone, Case No. CR-04-452774 (Cuyahoga Cty. Ct. C.P.). Petitioner then moved the court to

retroactively void, rather than terminate, his post-release control. Id. The court denied the

motion. Id.


       Because the effect of the termination simply ended his post-release control as of the date

of the Cuyahoga County Court of Common Pleas’ order, Petitioner’s post-release control was

still in effect at the time of his conviction. Petitioner’s argument accordingly fails.


               2. Prejudice


       To satisfy the prejudice requirement of Strickland, a petitioner must show “that there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different. A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Id. at 694. When the analysis involves a guilty plea, the petitioner

must show a reasonable probability that the petitioner would have pleaded differently. Griffin v.

United States, 330 F.3d 733, 737 (6th Cir. 2003). The failure to satisfy either requirement proves

fatal to an ineffective assistance of counsel claim. Strickland, 466 U.S. at 697.


       Because Petitioner’s claims would fail on the merits, Petitioner has not shown that his

counsel committed an error, much less one resulting in a reasonable probability of a different

outcome.




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       C. Due Process for Sentencing Enhancement


       It is well-settled law in the Sixth Circuit that the government bears the burden of

establishing the factors supporting a sentencing enhancement under U.S.S.G. § 2k2.1(b)(6)(B) by

a preponderance of the evidence. E.g., United States v. Jackson, 877 F.3d 231, 236 (6th Cir.

2017); United States v. Seymour, 739 F.3d 923, 929 (6th Cir. 2014); United States v. Taylor, 648

F.3d 417, 432 (6th Cir. 2011). The enhancement applies if there is a nexus between the firearm

and an independent felony. United States v. Davis, 372 F. App’x. 628, 629 (6th Cir. 2010). The

felony need not be charged in order for the enhancement to apply. Id.


       In his January 29 supplemental pleading, Petitioner asserts that the Government may only

rely upon facts arising out of a final conviction in supporting a sentencing enhancement under

U.S.S.G. § 2k2.1(b)(6)(B). ECF No. 140 at PageID#: 980. He contends that consideration of

“acquitted, dismissed, or uncharged facts” violates his due process rights, relying on Nelson v.

Colorado, 137 S. Ct. 1249 (2017). Id.


       Petitioner’s argument is unavailing because Nelson does not support his argument.

Nelson stands for the proposition that the State may not deprive defendants of their property

rights upon acquittal of the charge supporting the deprivation of those rights. Nelson, 137 S. Ct.

at 1251. The acquittal of such charges restored the defendants’ presumption of innocence. Id.

Petitioner, in contrast, has not been vindicated of wrongdoing. Rather, as the Court observed, the

Government has met its burden by providing evidence linking Petitioner to the commission of an

independent felony. ECF No. 122 at PageID #: 846-51. Petitioner fails to provide any other

legal support for his claim that the Court may not consider “acquitted, dismissed, or uncharged



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facts” in considering the propriety of an enhancement under U.S.S.G. § 2k2.1(b)(6)(B).

Petitioner accordingly has not shown that his due process rights were violated.


       D. Petitioner’s Other Constitutional Claims


       In his supplemental pleading, Petitioner makes three separate claims. First, he argues that

his counsel’s failure to challenge his conviction on the ground that Congress lacked authority

under the Commerce Clause to enact criminal legislation amounts to ineffective assistance of

counsel. ECF No. 153 at PageID #: 1067-75. Second, Petitioner claims that his counsel’s failure

to argue that the Tenth Amendment precludes enforcement of 18 U.S.C. § 922 constitutes

ineffective assistance of counsel. Id. at PageID #: 1075-78. Finally, Petitioner asserts that

Article III standing does not extend to criminal matters. Id. at PageID #: 1078-87.


       None of these arguments have merit. Numerous jurisdictions have determined 18 U.S.C.

§ 922 to be constitutional under both the Commerce Clause and the Tenth Amendment. See,

e.g., United States v. Baker, 197 F.3d 211, 217-18 (6th Cir. 1999) (18 U.S.C. § 922 does not run

afoul of the Commerce Clause); United States v. Baer, 235 F.3d 561, 563 n.6 (10th Cir. 2000)

(18 U.S.C. § 922 is constitutional under both the Commerce Clause and Tenth Amendment);

United States v. Minnick, 949 F.2d 8, 10-11 (1st Cir. 1991) (“The integrity of New Hampshire,

which the 10th Amendment protects, is not violated by [18 U.S.C. § 922(g)]”). Nor could either

of these arguments serve as the basis for a claim for ineffective assistance of counsel. See

Strickland, 466 U.S. at 687. Finally, federal courts have been adjudicating criminal cases

throughout the country’s history. Petitioner’s claims do not withstand legal scrutiny.



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                                        IV. Conclusion


       For the foregoing reasons, the Court grants Petitioner’s first and third motions to

supplement his Section 2255 motion and denies Petitioner’s Motion to Vacate, Set Aside or

Correct Petitioner’s Sentence under 18 U.S.C. § 2255. ECF Nos. 138, 140 & 152. Petitioner’s

second motion to amend or supplement is moot. ECF No. 146.



       IT IS SO ORDERED.


  October 31, 2018                             /s/ Benita Y. Pearson
Date                                         Benita Y. Pearson
                                             United States District Judge




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